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                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

 STATE OF TEXAS                           §      CIVIL NO. 4:24-CV-499-SDJ
                                          §             LEAD CASE
                                          §
 PLANO CHAMBER OF                         §      CIVIL NO. 4:24-CV-468-SDJ
 COMMERCE, ET AL.                         §
                                          §
 v.                                       §
 UNITED STATES DEPARTMENT                 §
 OF LABOR, ET AL.                         §

                             SCHEDULING ORDER

      Before the Court is the parties’ Joint Proposed Briefing Schedule for cross-

motions for summary judgment. (Dkt. #41). In accordance with the joint proposal, the

Court enters the following briefing schedule:
       .
         • Business Plaintiffs shall file a motion for summary judgment by July
             18, 2024;

         •   The State of Texas shall file a motion for summary judgment by July
             25, 2024;

         •   Defendants shall file an opposition and a cross-motion for summary
             judgment by August 8, 2024;

         •   Plaintiffs shall file oppositions and replies by August 29, 2024;

         •   Defendants shall file a reply by September 19, 2024.


          So ORDERED and SIGNED this 9th day of July, 2024.




                                                     ____________________________________
                                                     SEAN D. JORDAN
                                                     UNITED STATES DISTRICT JUDGE
